             Case 2:03-cr-00374-MCE Document 62 Filed 09/21/05 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    LAURA L. FERRIS
     Assistant U.S. Attorney
3    501 I Street, Ste 10-100
     Sacramento, CA 95814
4    Telephone (916) 554-2932
5
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,          )       CR. S-03-0374 MCE
11                                      )
                        Plaintiff,      )       [PROPOSED] ORDER
12                                      )       TO DISMISS COUNTS AGAINST
                   v.                   )       DEFENDANTS JOSEPH AARONELIJAH
13                                      )       STEWART AND DANIEL PAUL
     NICHOLAS WILLIAM BLASGEN,          )       ALEKSANDER AND TO VACATE THE
14   JOSEPH AARONELIJAH STEWART,        )       STATUS CONFERENCE
     DANIEL PAUL ALEKSANDER,            )
15                                      )
                        Defendants.     )
16                                      )
17
18        Pursuant to the Motion to Dismiss the Counts against Defendants
19   Joseph Aaronelijah Stewart and Daniel Paul Aleksander filed by the
20   United States, in CR. S-03-0374, the Court hereby ORDERS:
21        (1)    that counts 7, 8, 10, 13, and 16 in the pending
22               Superseding Indictment against the defendant Joseph
23               Stewart and
24        (2)    that counts 3, 4, 5, 6, 12, and 15 in the pending
25               Superseding Indictment against the defendant Daniel
26               Aleksander
27   are DISMISSED.
28   / / /

                                            1
           Case 2:03-cr-00374-MCE Document 62 Filed 09/21/05 Page 2 of 2


1         The Status Conference in this matter currently set for
2    September 20, 2005, is hereby VACATED.
3
4
5    Dated: September 20, 2005
6
7
8                                        _____________________________
                                         MORRISON C. ENGLAND, JR
9                                        UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                     2
